                                              Case 19-14796-mkn            Doc 189    Entered 09/24/19 09:48:47   Page 1 of 29




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                                         4 Entered on Docket
                                           September 24, 2019
                                       ___________________________________________________________________
                                         5

                                         6   BRETT A. AXELROD, ESQ.
                                             Nevada Bar No. 5859
                                         7   FOX ROTHSCHILD LLP
                                             1980 Festival Plaza Drive, Suite 700
                                         8   Las Vegas, Nevada 89135
                                             Telephone: (702) 262-6899
                                         9
                                             Facsimile: (702) 597-5503
                                        10   Email: baxelrod@foxrothschild.com
                                             [Proposed] Counsel for Debtors
                                        11
                                                                           UNITED STATES BANKRUPTCY COURT
1980 Festival Plaza Drive, Suite 700




                                        12
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP




                                                                                     DISTRICT OF NEVADA
       (702) 597-5503 (fax)
          (702) 262-6899




                                        13
                                             In re                                               Case No. BK-S-19-14796-mkn
                                        14

                                        15        GYPSUM RESOURCES                               Jointly Administered with
                                                  MATERIALS, LLC,                                Case No. BK-S-19-14799-mkn
                                        16
                                                      Affects Gypsum Resources Materials, LLC    Chapter 11
                                        17            Affects Gypsum Resources, LLC
                                                      Affects all Debtors                        ORDER (A) SETTING BAR DATES FOR
                                        18
                                                                                                 FILING PROOFS OF CLAIM, (B)
                                        19                                                       APPROVING THE FORM AND
                                                                                                 MANNER FOR FILING PROOFS OF
                                        20                                                       CLAIM, AND (C) APPROVING NOTICE
                                                                                                 THEREOF
                                        21

                                        22

                                        23           The Court, having reviewed and considered the Motion (the “Motion”)1 filed on September

                                        24   18, 2019, by Gypsum Resources Materials, LLC (“GRM”) and Gypsum Resources, LLC (“GR”,

                                        25   together with GRM, the “Debtors”), for entry of an order (a) establishing the deadline for filing

                                        26   claims in the above-captioned cases (the “Chapter 11 Cases”), (b) approving the form and manner

                                        27
                                                     1
                                                       All capitalized words and phrases not otherwise defined hearing shall have the meanings
                                        28   given to them in the Motion.
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                                             Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47        Page 2 of 29




                                        1   for filing such claims, and (c) approving notice thereof; and having reviewed and considered the
                                        2   UST’s Objection to Debtors’ Motion filed on September 4, 2019 and the Objection To Debtors'
                                        3   Motion for Entry of and Order (A) Setting Bar Dates For Filing Proofs of Claims, (B) Approving
                                        4   The Form and Manner for Filing Proofs of Claims, and (C) Approving Notice Thereof filed on
                                        5   September 11, 2019; and having reviewed and considered Big Slick’s Joinder to the UST’s
                                        6   Objection to Debtors’ Motion filed on September 4, 2019; and having reviewed and considered
                                        7   Debtors’ Reply to the UST’s Objection and Big Slick’s Joinder filed on September 11, 2019; and it
                                        8   appearing that the relief requested is in the best interests of Debtors’ estates, their creditors and all
                                        9   other parties in interest; and the Court having jurisdiction to consider the Motion, the Objections,
                                       10   and the Reply and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and
                                       11   consideration of the Motion, Objections, and the Reply and the relief requested therein being a core
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                                       12   proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper in this Court pursuant to 28
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                                       13   U.S.C. §§ 1408 and 1409; and the Court having reviewed and considered all other pleadings and
                                       14   evidence submitted by the parties in connection with the Motion, the Objections, and the Reply; and
                                       15   due and proper notice of the Motion, Objections, and Reply having been provided under the
                                       16   circumstances; and it appearing that no other or further notice need be provided; and the Court
                                       17   having determined that the legal and factual bases set forth in the Motion, Objections, and Reply
                                       18   establish just cause for the relief granted herein; and the Court having considered the oral arguments
                                       19   of counsel at the hearing held on September 18, 2019, and having made findings of fact and
                                       20   conclusions of law on the record, which are incorporated herein pursuant to Rule 52 of the Federal
                                       21   Rules of Civil Procedure, made applicable to these proceedings by Bankruptcy Rule 7052; and good
                                       22   and sufficient cause appearing therefor,
                                       23           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
                                       24           1.       The Motion is GRANTED in part pursuant to the terms set forth below.

                                       25           The Bar Date and Claim Filing Procedures.
                                       26           2.       Each person or entity that asserts against Debtors a claim (as defined in Bankruptcy

                                       27   Code section 101(5), including any claims arising prepetition that may be entitled to administrative

                                       28   priority pursuant to Bankruptcy Code section 503(b)(9)) that arose before July 26, 2019 (the
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47        Page 3 of 29




                                        1   “Petition Date”) (such person or entity, a “Claimant” and such claim, a “Claim”), to the extent such
                                        2   Claimant disagrees with the treatment of its claim in Debtors’ bankruptcy schedules and statements
                                        3   filed with this Court on August 26, 2019 (the “Schedules”), shall file an original, written proof of
                                        4   that claim (a “Proof of Claim”), substantially in the form of the Proof of Claim Form attached
                                        5   hereto as Exhibit A or Official Form No. 10 (“Official Form 10”). All Proofs of Claim of non-
                                        6   governmental entities are required to be received on or before November 27, 2019, at 5:00
                                        7   p.m. (prevailing Pacific Time) (the “Bar Date”) at the addresses and in the form set forth in
                                        8   the following paragraph. All Proofs of Claim of governmental entities are required to be
                                        9   received on or before January 22, 2020, at 5:00 p.m. (prevailing Pacific Time) (the

                                       10   “Governmental Bar Date” and, together with the Bar Date, the “Bar Dates”) at the addresses

                                       11   and in the form set forth in the following paragraph.
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                                       12           a.       All Proofs of Claim must be filed with the Court and received on or before the
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          (702) 262-6899




                                       13   applicable Bar Dates by Debtors’ Counsel. If Proofs of Claim are not received on or before the Bar

                                       14   Dates by Fox Rothschild LLP, with certain exceptions as explicitly set forth herein, the Holders of

                                       15   the underlying Claims shall be barred from asserting such Claims against Debtors, as more fully

                                       16   discussed at paragraph 10 below. All Proofs of Claim must be delivered to Fox Rothschild LLP by

                                       17   first-class mail, overnight delivery, hand delivery, facsimile or email at the following address:2

                                       18                                           Brett A. Axelrod, Esq.
                                                                                     Fox Rothschild LLP
                                       19                                     1980 Festival Plaza Drive, Suite 700
                                                                                    Las Vegas, NV 89135
                                       20
                                                                                  Facsimile: (712) 597-5503
                                       21                                        baxelrod@foxrothschild.com

                                       22           3.       A Proof of Claim will be deemed timely filed only if it is actually received by

                                       23   Debtors’ Counsel on or before the Bar Date. A Claimant who wishes to receive acknowledgment of

                                       24   Debtors’ Counsel’s receipt of its Proof of Claim may submit a copy of the Proof of Claim and a

                                       25   self-addressed, stamped envelope to Debtors’ Counsel along with the original Proof of Claim.

                                       26
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                                                2
                                                  Proofs of Claim timely filed with the Clerk of this Court will be deemed timely filed for
                                       28   purposes of the Bar Dates.
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189     Entered 09/24/19 09:48:47        Page 4 of 29




                                        1           Substantive Requirements for Proofs of Claim.
                                        2           4.       The following requirements shall apply with respect to filing and preparing each
                                        3   Proof of Claim:
                                        4                    i.       Each Proof of Claim must (i) be written in English; (ii) include a
                                                                      claim amount denominated in United States dollars; (iii) state a claim
                                        5                             against Debtors and (iv) be signed by the Claimant or, if the Claimant
                                                                      is not an individual, by an authorized agent of the Claimant;
                                        6
                                        7                    ii.      Each Proof of Claim must include, consistent with Bankruptcy Rule
                                                                      3001(c), supporting documentation (or, if such documentation is
                                        8                             voluminous, a summary of such documentation) or an explanation as
                                                                      to why such documentation is not available; provided, however, that a
                                        9                             Proof of Claim may be filed without supporting documentation upon
                                                                      the prior written consent of Debtors’ counsel; and provided, further,
                                       10                             that any creditor that received such written consent shall be required
                                       11                             to transmit such writing to Debtors or other party in interest upon
                                                                      request no later than 10 days from the date of such request.
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                                       12
    Las Vegas, Nevada 89135
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                                                    Parties Exempted from the Bar Dates.
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          (702) 262-6899




                                       13
                                                    5.       Several categories of Claimants, as a matter of law, procedure or case administration,
                                       14
                                            shall not be required to file a Proof of Claim by the Bar Date. Specifically, the Bar Dates shall not
                                       15
                                            apply to:
                                       16                    (a)      Holders of Claims that were listed in the Schedules, but only if (i) the
                                       17                             Schedules did not list those Claims as “contingent,” “unliquidated” or
                                                                      “disputed,” and (ii) the Holder of the Claim does not dispute the
                                       18                             Schedules’ description of the amount or classification of the Claim;

                                       19                    (b)      Claimants who already filed a Proof of Claim against Debtor with the
                                                                      Clerk of the Bankruptcy Court for the District of Nevada (the
                                       20                             “Clerk”) in a form substantially similar to Official Form 10;
                                       21
                                                             (c)      Claims against Debtors that have been paid in full, whether by
                                       22                             Debtors pursuant to an order of the Court or by any other party;

                                       23                    (d)      Claims of any direct or indirect non-debtor subsidiary of Debtors
                                                                      against Debtors;
                                       24
                                                             (e)      Claims of any current employee of Debtors, to the extent that Debtors
                                       25                             were authorized by the Court to honor those claims in the ordinary
                                                                      course of its business, such as claims for wages, commissions or
                                       26
                                                                      benefits, or any claims for deferred compensation; provided, however,
                                       27                             that current employees must file Proofs of Claim by the Bar Date for
                                                                      all other Claims arising before the Petition Date against Debtors,
                                       28                             including, but not limited to, Claims for wrongful termination,
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189     Entered 09/24/19 09:48:47         Page 5 of 29




                                                                      discrimination, harassment, hostile work environment, retaliation,
                                        1                             overtime and Claims covered by Debtors’ workers’ compensation
                                        2                             insurance;

                                        3                    (f)      Equity interests, which interests are based exclusively upon an
                                                                      interest in the equity ownership of Debtors (any such interest being
                                        4                             referred to as an “Interest”); provided, however, that Holders of
                                                                      Interests who wish to assert a Claim against Debtors that arises out of
                                        5                             or relates to the ownership or purchase of an Interest, including
                                        6                             Claims arising out of or relating to the sale, issuance or distribution of
                                                                      the Interest, must file a Proof of Claim on or before the Bar Date,
                                        7                             unless another exception set forth herein applies; and

                                        8                    (g)      Claims allowable under Bankruptcy Code sections 503(b) and
                                                                      507(a)(1) as administrative expenses of this Chapter 11 Case, with the
                                        9                             exception of Claims allowable under Bankruptcy Code section
                                                                      503(b)(9), which are subject to the Bar Date.
                                       10
                                       11           Identification of Known Creditors.
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                                       12           6.       Debtors shall mail notice of the Bar Dates only to its known creditors to the last
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                                            known mailing address for each such creditor and may rely on publication to give notice to creditors
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                                       13
                                       14   to whom notice by mail is impracticable, including creditors who are unknown or not reasonably

                                       15   ascertainable by Debtors and creditors whose identities are known but whose addresses are

                                       16   unknown by Debtors. The Court is not making any factual findings at this time as to which

                                       17   creditors are known and unknown.             The Court is not otherwise excusing compliance with

                                       18   Bankruptcy Code section 342 or any other applicable law governing notice in this proceeding.

                                       19           Procedures for Providing Notice of the Bar Date.

                                       20           7.       Debtors shall use the following procedures for providing mailing and publication

                                       21   notice of the Bar Date:

                                       22                    Mailing of Bar Date Notices.

                                       23           8.       Debtors shall mail on or before September 25, 2019, written notice of the Bar Date,

                                       24   substantially in the form attached hereto as Exhibit B (the “Bar Date Notice”), and a Proof of Claim

                                       25   Form (including instructions), substantially in the form attached hereto as Exhibit A (collectively,

                                       26   with the Bar Date Notice, the “Bar Date Package”), to the following entities:

                                       27                    •        The Office of the United States Trustee for the District of Nevada
                                                                      (the “U.S. Trustee”);
                                       28
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189     Entered 09/24/19 09:48:47       Page 6 of 29




                                                             •        Counsel to any statutory Committee of Unsecured Creditors that
                                        1                             may be appointed in these Chapter 11 Cases (the “Creditors’
                                        2                             Committee”);

                                        3                    •        The entities listed on the List of Creditors Holding the 20 Largest
                                                                      Unsecured Claims filed in these Chapter 11 Cases, pursuant to
                                        4                             Bankruptcy Rule 1007(d);
                                        5                    •        Counsel to Debtors’ secured lenders;
                                        6                    •        All persons or entities that have requested notice of the
                                        7                             proceedings in these Chapter 11 Cases;

                                        8                    •        All persons or entities that have filed claims against Debtors, if
                                                                      any;
                                        9
                                                             •        All creditors and other known holders of claims against Debtors as
                                       10                             of the date of the Order, if any, including all persons or entities
                                                                      listed in the Schedules as holding claims against Debtors;
                                       11
                                                             •
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                                       12                             All parties to executory contracts and unexpired leases of Debtors
    Las Vegas, Nevada 89135




                                                                      listed on the Schedules, including executory contracts and
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                                       13                             unexpired leases which Debtors included on any subsequent
                                                                      amendment(s) to the Schedules;
                                       14
                                                             •        All parties to litigation with Debtors;
                                       15
                                                             •        The Internal Revenue Service; and
                                       16
                                       17                    •        Debtors’ current employees and Debtors’ former employees to the
                                                                      extent that contact information for former employees is available
                                       18                             in Debtors’ records.
                                       19           9.       After the initial mailing of the Bar Date Packages, Debtors may, in their discretion,

                                       20   make supplemental mailings of notices or packages in a number of situations, including in the event

                                       21   that (a) notices are returned by the post office with forwarding addresses (unless notices are

                                       22   returned as “return to sender” without a forwarding address, in which case Debtors shall not be

                                       23   required to mail additional notices to such creditors), (b) certain parties acting on behalf of parties in

                                       24   interest (e.g., banks and brokers) that decline to pass along notices to these parties and instead return

                                       25   their names and addresses to Debtors for direct mailing, and (c) additional potential claimants that

                                       26   become known as the result of the Bar Date noticing process. In this regard, Debtors shall make

                                       27   supplemental mailings of Bar Date Notices in these and similar circumstances at any time up to and

                                       28
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189    Entered 09/24/19 09:48:47      Page 7 of 29




                                        1   including January 22, 2020, with any such mailings being deemed timely and the Bar Date being
                                        2   applicable to the recipient creditors.
                                        3                    Publication of Bar Date Notices.
                                        4           10.      Debtors shall give notice of the Bar Date by publication, as provided by Bankruptcy
                                        5   Rule 2002(l), to creditors to whom notice by mail is found by the Court to have been impracticable,
                                        6   including creditors who are unknown or not reasonably ascertainable by Debtors and creditors
                                        7   whose identities are known but whose addresses are unknown by Debtors. Specifically, Debtors
                                        8   shall publish in the Las Vegas Review-Journal the Bar Date Notice, modified for publication in
                                        9   substantially the form attached hereto as Exhibit C (the “Publication Notice”), which shall include
                                       10   the telephone number of Debtors’ Counsel for purposes of these Chapter 11 Cases that creditors

                                       11   may call to obtain copies of a Proof of Claim Form, and information concerning the procedures and
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                                       12   appropriate deadlines for filing Proofs of Claim. Debtors shall make such publication on two non-
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     FOX ROTHSCHILD LLP



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          (702) 262-6899




                                       13   consecutive weekdays, once during the week of September 25, 2019, and another the following

                                       14   week; and once on a Sunday, thus satisfying the requirements of Bankruptcy Rules 2002(a)(7) and

                                       15   9006(f) that such notice be published at least twenty-four (24) days before the Bar Date.

                                       16           Supplemental Bar Date.

                                       17           11.      January 22, 2020, at 5:00 p.m. prevailing Pacific time shall be, and is hereby,

                                       18   established as the supplemental bar date in these Chapter 11 Cases (the “Supplemental Bar Date,”
                                       19   together with the Bar Date, the “Bar Dates”) with respect to creditors as to which a re-mailing of the
                                       20   Bar Date Package is appropriate (as described above), but cannot be accomplished before December
                                       21   27, 2019, to provide at least twenty-four (24) days’ notice of the Bar Date.
                                       22           12.      On or before December 27, 2019, Debtors will re-mail a Bar Date Package (the “Re-
                                       23   Mailed Notice”), modified to include the Supplemental Bar Date, to all creditors from whom
                                       24   Debtors have received return mail with a forwarding address in order to provide such creditors with

                                       25   at least twenty-four (24) days’ notice of the Supplemental Bar Date.

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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47       Page 8 of 29




                                        1           Extension of the Bar Dates.
                                        2           13.      Debtors may, in their discretion and upon the written consent of counsel for the
                                        3   statutory Creditor’s Committee, if one is appointed, and without further order of the Court, extend
                                        4   the Bar Dates and the Supplemental Bar Date by stipulation for certain Claimants, such as other
                                        5   creditors that become known to Debtors after the applicable Bar Date, where Debtors determine that
                                        6   such extension is in the best interests of Debtors and their estates.
                                        7           Consequences of Failing to File a Proof of Claim by the Applicable Bar Date.
                                        8           14.      Pursuant to Bankruptcy Rule 3003(c)(2), any Claimant whose claim is not scheduled
                                        9   or scheduled as disputed, contingent, or unliquidated must file a Proof of Claim in accordance with
                                       10   the Bar Date Order on or before the Bar Dates or Supplemental Bar Date, as applicable. Any
                                       11   claimant that fails to do so shall not be treated as a creditor with respect to such claim for the
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                                       12   purposes of voting to accept or reject any plan of reorganization filed in these Chapter 11 Cases, or
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          (702) 262-6899




                                       13   participating in any distribution in these Chapter 11 Cases on account of such claim.
                                       14           Amendment to Schedules.
                                       15           15.      In the event Debtors amend the Schedules after having given notice of the Bar Date,

                                       16   Debtors shall give notice by first-class mail of any Schedules amendment to the holders of claims

                                       17   affected thereby, and the deadline for those Holders to file Proofs of Claim, if necessary, shall be

                                       18   the later of (a) the Bar Date, or (b) thirty (30) days from the date that notice of the Schedules
                                       19   amendment is given (or another time period as may be fixed by the Court).
                                       20           Rejection of Executory Contracts and Unexpired Leases.
                                       21           16.      Any holder of a claim arising from the rejection of an unexpired lease or executory
                                       22   contract of a Debtor (an “Agreement”) shall be required to file a Proof of Claim by the later of (a)
                                       23   the Bar Date, or (b) the date provided in any order authorizing Debtors to reject the Agreement or, if
                                       24   no date is provided, then thirty (30) days after the date of any order authorizing Debtors to reject an

                                       25   Agreement (so long as such order authorizing rejection and establishing the claims bar date requires

                                       26   Debtors to mail notice of the order within one (1) day of the date the order is entered).

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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189    Entered 09/24/19 09:48:47        Page 9 of 29




                                        1           Adequate and Sufficient Notice.
                                        2           17.      Notice of the Bar Dates as set forth in this Order and in the manner set forth herein
                                        3   (including, but not limited to, the Bar Date Notice, the Bar Date Package, the Publication Notice,
                                        4   the Re-Mailed Notice and any supplemental notices that Debtors may send from time to time
                                        5   pursuant to this Order) constitutes adequate and sufficient notice of the Bar Dates and satisfies the
                                        6   requirements of the Bankruptcy Code, the Bankruptcy Rules and the Local Rules for this Court such
                                        7   that no other or further notice need be provided.
                                        8           18.      Debtors are authorized to take all actions necessary or appropriate to effectuate the
                                        9   relief granted pursuant to this Order in accordance with the Motion.
                                       10           19.      The terms and conditions of this Order shall be immediately effective and
                                       11   enforceable upon its entry.
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                                       12           20.      The Court retains jurisdiction with respect to all matters arising from or related to the
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          (702) 262-6899




                                       13   implementation of this Order.
                                       14
                                       15   Prepared and respectfully submitted by:

                                       16   FOX ROTHSCHILD LLP

                                       17   By:   /s/Brett A. Axelrod
                                                BRETT A. AXELROD, ESQ.
                                       18       Nevada Bar No. 5859
                                                1980 Festival Plaza Drive, Suite 700
                                       19
                                                Las Vegas, Nevada 89135
                                       20   [Proposed] Counsel for Debtors

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                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47   Page 10 of 29




                                            APPROVED/DISAPPROVED:
                                        1
                                            OFFICE OF THE UNITED STATES TRUSTEE
                                        2
                                        3   BY:      /s/Edward M. McDonald
                                                  Edward M. McDonald, Jr.
                                        4         Trial Attorney for United States Trustee,
                                                  Tracy Hope Davis
                                        5
                                        6
                                            APPROVED/DISAPPROVED:
                                        7
                                        8   GOLDSTEIN & McCLINTOCK LLLP

                                        9   BY:   /s/Thomas R. Fawkes
                                                THOMAS R. FAWKES, ESQ.
                                       10       111 W. Washington St., Suite 1221
                                                Chicago, Illinois 60602
                                       11
                                            [Proposed] Counsel for the Official Committee of
1980 Festival Plaza Drive, Suite 700




                                       12   Unsecured Creditors
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)
          (702) 262-6899




                                       13
                                       14   APPROVED/DISAPPROVED:
                                       15   CHRISTENSEN JAMES & MARTIN, CHTD.
                                       16
                                            BY:   /s/Kevin B. Archibald
                                       17      KEVIN B. ARCHIBALD, ESQ.
                                               Nevada Bar No. 13817
                                       18      7440 W. Sahara Avenue
                                               Las Vegas, Nevada 89117
                                       19
                                            Counsel for Big Slick Petroleum, LLC
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47         Page 11 of 29




                                                         CERTIFICATION OF COUNSEL PURSUANT TO LOCAL RULE 9021
                                        1
                                                 In accordance with Local Rule 9021, counsel submitting this document certifies as follows:
                                        2
                                                               The Court has waived the requirement of approval in LR 9021(b)(1).
                                        3
                                                               No party appeared at the hearing or filed an objection to the motion
                                        4
                                        5                      I have delivered a copy of this proposed order to all counsel who
                                                               appeared at the hearing, any unrepresented parties who appeared at the
                                        6                      hearing, and each has approved or disapproved the order, or failed to
                                                               respond, as indicated below:
                                        7
                                                                  Edward M. McDonald, Jr.,
                                        8                         Trial Attorney
                                                                  Office of the United States Trustee
                                        9
                                                                    Approved / Disapproved
                                       10
                                                                  Thomas R. Fawkes, Esq.
                                       11                         Goldstein & McClintock LLLP
                                                                  [Proposed] Counsel for the Official
1980 Festival Plaza Drive, Suite 700




                                       12                         Committee of Unsecured Creditors
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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          (702) 262-6899




                                       13                         Approved / Disapproved
                                       14                         Kevin B. Archibald, Esq.
                                                                  Christensen James & Martin, Chtd.
                                       15                         Counsel for Big Slick Petroleum, LLC
                                       16                           Approved / Disapproved
                                       17
                                                               I certify that this is a case under Chapter 7 or 13, that I have served a
                                       18                      copy of this order with the motion pursuant to LR 9014(g), and that no
                                                               party has objected to the form or content of the order.
                                       19
                                                                                               ###
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                                            Case 19-14796-mkn             Doc 189    Entered 09/24/19 09:48:47   Page 12 of 29




                                        1                                                 EXHIBIT B
                                        2                                           PROOF OF CLAIM FORM
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                                       11
1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135
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                                            Active\102401969.v2-9/23/19
                           Case 19-14796-mkn                    Doc 189             Entered 09/24/19 09:48:47                       Page 13 of 29

  Fill in this information to identify the case:

  Debtor 1              __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          __________District    __________
                                                     Districtofof __________

  Case number            ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     04/19

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?                          ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                         No
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      _____________________________________________________                       _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     ______________________________________________________                      ______________________________________________________
                                      Number      Street                                                          Number      Street

                                      ______________________________________________________                      ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone    ________________________                                   Contact phone   ________________________

                                      Contact email     ________________________                                  Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                 No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone                 No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                             page 1
                     Case 19-14796-mkn                 Doc 189          Entered 09/24/19 09:48:47                     Page 14 of 29


 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed) _______%
                                              Fixed
                                              Variable



10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
                     Case 19-14796-mkn                         Doc 189            Entered 09/24/19 09:48:47                      Page 15 of 29


12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  8________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                _______________________________________________________________________________________________
                                                         Number        Street

                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                              Email         ____________________________________




 Official Form 410                                                           Proof of Claim                                                                page 3
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47   Page 16 of 29




                                        1                                                EXHIBIT C
                                        2                                           BAR DATE NOTICE
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                                       11
1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)
          (702) 262-6899




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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47   Page 17 of 29




                                            BRETT A. AXELROD, ESQ.
                                        1   Nevada Bar No. 5859
                                        2   FOX ROTHSCHILD LLP
                                            1980 Festival Plaza Drive, Suite 700
                                        3   Las Vegas, Nevada 89135
                                            Telephone: (702) 262-6899
                                        4   Facsimile: (702) 597-5503
                                            Email: baxelrod@foxrothschild.com
                                        5
                                            [Proposed] Counsel for Debtors
                                        6
                                                                          UNITED STATES BANKRUPTCY COURT
                                        7
                                                                                    DISTRICT OF NEVADA
                                        8
                                            In re                                                  Case No. BK-S-19-14796-mkn
                                        9
                                       10        GYPSUM RESOURCES MATERIALS,                       Jointly Administered with
                                                 LLC,                                              Case No. BK-S-19-14799-mkn
                                       11
                                                     Affects Gypsum Resources Materials, LLC       Chapter 11
1980 Festival Plaza Drive, Suite 700




                                       12            Affects Gypsum Resources, LLC
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)




                                                     Affects all Debtors
          (702) 262-6899




                                       13
                                       14
                                                           NOTICE OF BAR DATES FOR FILING PROOFS OF CLAIM:
                                       15
                                                    ON OR BEFORE NOVEMBER 27, 2019 FOR NON-GOVERNMENTAL CLAIMS
                                       16                                        AND
                                                       ON OR BEFORE JANUARY 22, 2020 FOR GOVERNMENTAL CLAIMS
                                       17
                                            TO:      ALL ENTITIES WHO MAY HAVE CLAIMS AGAINST GYPSUM RESOURCES
                                       18            MATERIALS, LLC, GYPSUM RESOURCES, LLC, OR ANY OF THEIR
                                       19            PREDECESSORS-IN-INTEREST FOR WHICH DEBTORS ASSUMED LIABILITY
                                                     BY OPERATION OF LAW THROUGH MERGER AS DESCRIBED IN THIS
                                       20            NOTICE:

                                       21            YOU MAY WISH TO CONSULT WITH COUNSEL OF YOUR CHOICE
                                                     REGARDING ANY CLAIM YOU MAY HAVE.
                                       22
                                       23            PLEASE TAKE NOTICE THAT:

                                       24            On July 26, 2019 (the “Petition Date”), Gypsum Resources Materials, LLC (“GRM”) and

                                       25   Gypsum Resources, LLC (“GR”), filed their voluntary petitions for relief under chapter 11 of title

                                       26   11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for

                                       27   the District of Nevada (the “Court”).

                                       28
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47      Page 18 of 29




                                        1           Prior to the Petition Date, the following former affiliate of GRM (the “GRM Affiliate”)
                                        2   merged with GRM: High Grade Gypsum, LLC. After the merger, GRM was the surviving entity
                                        3   and successor-in-interest, assuming the operations, assets, and liabilities of the GRM Affiliate.
                                        4           Prior to the Petition Date, the following former affiliates of GR (collectively, the “GR
                                        5   Affiliates”) merged with GR: Gypsum Resources I, LLC, and Blue Diamond Falls, LLC. After the
                                        6   merger, GR was the surviving entity and successor-in-interest, assuming the operations, assets, and
                                        7   liabilities of the GR Affiliates.
                                        8           Accordingly, you may have done business with GRM or GR within the last ten years
                                        9   under any of the following names:
                                                                DEBTOR                                         OTHER NAMES
                                       10
                                             Gypsum Resources Materials, LLC                            High Grade Gypsum, LLC
                                       11
                                             Gypsum Resources, LLC                                      Gypsum Resources I, LLC
1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP




                                                                                                        Blue Diamond Falls, LLC
       (702) 597-5503 (fax)
          (702) 262-6899




                                       13
                                       14                       DEADLINES FOR FILING CLAIMS AGAINST DEBTORS
                                       15           On ____________, 2019, the Court entered an order (ECF No. ___) (the “Bar Date Order”):

                                       16   (a) establishing the deadline for filing claims in the above-captioned cases (the “Chapter 11 Cases”),

                                       17   (b) approving the form and manner for filing such claims, and (c) approving notice thereof.

                                       18           Each person or entity that asserts against Debtors a claim (as defined in Bankruptcy Code
                                       19   section 101(5), including any claims arising prepetition that may be entitled to administrative
                                       20   priority pursuant to Bankruptcy Code section 503(b)(9)) that arose before July 26, 2019 (the
                                       21   “Petition Date”) (such person or entity, a “Claimant” and such claim, a “Claim”), to the extent such
                                       22   Claimant disagrees with the treatment of its claim in Debtors’ bankruptcy schedules and statements
                                       23   filed with this Court on the Petition Date (the “Schedules”), shall file an original, written proof of
                                       24   that claim (a “Proof of Claim”), substantially in the form of Official Form No. 10 (“Official

                                       25   Form 10”) attached hereto as Exhibit 1.

                                       26           Under Bankruptcy Code section 101(5) and as used herein, the word “claim” means:

                                       27   (a) a right to payment, whether or not such right is reduced to judgment, liquidated,

                                       28   unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
                                                                                              2
                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47        Page 19 of 29




                                        1   secured or unsecured; or (b) a right to an equitable remedy for breach of performance if such
                                        2   breach gives rise to a right to payment, whether or not such right to an equitable remedy is
                                        3   reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured
                                        4   or unsecured.
                                        5           All Proofs of Claim (except those of governmental entities) are required to be filed and
                                        6   received by Counsel for the Debtors on or before November 27, 2019, at 5:00 p.m. (prevailing
                                        7   Pacific Time) (the “Bar Date”) at the addresses and in the form set forth in the following
                                        8   paragraphs.
                                        9           All Proofs of Claim of governmental entities are required to be filed and received by

                                       10   Counsel for the Debtors on or before January 22, 2020, at 5:00 p.m. (prevailing Pacific Time)

                                       11   (the “Governmental Bar Date”) at the addresses and in the form set forth in the following
1980 Festival Plaza Drive, Suite 700




                                       12   paragraphs.
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)
          (702) 262-6899




                                       13           All Proofs of Claim must be filed with the Court and received on or before the Bar Date or

                                       14   Governmental Bar Date (collectively, the “Bar Dates”) by counsel for the Debtor, Fox Rothschild

                                       15   LLP, in these Chapter 11 Cases. If Proofs of Claim are not received on or before the Bar Dates by

                                       16   Fox Rothschild LLP by, with certain exceptions as explicitly set forth herein, the Holders of the

                                       17   underlying Claims shall be barred from asserting such Claims against Debtors. All Proofs of Claim

                                       18   must be delivered to Fox Rothschild LLP by first-class mail, overnight delivery, hand delivery,
                                       19   facsimile or email at the following address:1
                                       20                                           Brett A. Axelrod, Esq.
                                                                                     Fox Rothschild LLP
                                       21                                     1980 Festival Plaza Drive, Suite 700
                                                                                    Las Vegas, NV 89135
                                       22                                         Facsimile: (702) 597-5503
                                                                                 baxelrod@foxrothschild.com
                                       23
                                       24           You MUST file a Proof of Claim by the Bar Dates if you have any claim against

                                       25   Debtors that arose before July 26, 2019. The only exception to this requirement is for claims

                                       26   described below as Exempted Claims. Acts or omissions that occurred before July 26, 2019,

                                       27
                                                1
                                                  Proofs of Claim timely filed with the Clerk of this Court will be deemed timely filed for
                                       28   purposes of the Bar Dates.
                                                                                           3
                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189    Entered 09/24/19 09:48:47        Page 20 of 29




                                        1   may give rise to claims subject to the Bar Date even if the claims may not have become known
                                        2   or fixed or liquidated until after July 26, 2019. PRIOR TO JULY 26, 2019, DEBTORS ALSO
                                        3   OPERATED UNDER THESE NAMES: HIGH GRADE GYPSUM, LLC, GYPSUM
                                        4   RESOURCES I, LLC AND BLUE DIAMOND FALLS, LLC. IF YOU HAVE HAD
                                        5   DEALINGS WITH DEBTORS OR ANY OF THESE ENTITIES, THEN YOU MAY HAVE
                                        6   A CLAIM. IF YOU HAVE A CLAIM, THEN YOU MUST TIMELY FILE A CLAIM OR, IF
                                        7   NOT TIMELY FILED, SUCH CLAIM WILL BE FOREVER BARRED.
                                        8                     SUBSTANTIVE REQUIREMENTS FOR PROOFS OF CLAIM
                                        9            The following requirements shall apply with respect to filing and preparing each Proof of

                                       10   Claim:
                                                             a.       Each Proof of Claim must (i) be written in English; (ii) include a
                                       11                             claim amount denominated in United States dollars; (iii) state a
1980 Festival Plaza Drive, Suite 700




                                       12                             claim against Debtor and (iv) be signed by the Claimant or, if the
    Las Vegas, Nevada 89135




                                                                      Claimant is not an individual, by an authorized agent of the
     FOX ROTHSCHILD LLP



       (702) 597-5503 (fax)
          (702) 262-6899




                                       13                             Claimant;

                                       14                    b.       Each Proof of Claim must include, consistent with Bankruptcy Rule
                                                                      3001(c), supporting documentation (or, if such documentation is
                                       15                             voluminous, a summary of such documentation) or an explanation as
                                                                      to why such documentation is not available; provided, however, that
                                       16
                                                                      a Proof of Claim may be filed without supporting documentation
                                       17                             upon the prior written consent of Debtor’s counsel; and provided,
                                                                      further, that any creditor that received such written consent shall be
                                       18                             required to transmit such writing to Debtor or other party in interest
                                                                      upon request no later than 10 days from the date of such request.
                                       19
                                       20                                            EXEMPTED CLAIMS

                                       21            Several categories of Claimants, as a matter of law, procedure or case administration, shall

                                       22   not be required to file a Proof of Claim by the Bar Dates. Specifically, the Bar Dates shall not apply

                                       23   to the following (collectively, “Exempted Claims”):

                                       24                    iii.     Holders of Claims that were listed in the Schedules, but only if (i) the
                                                                      Schedules did not list those Claims as “contingent,” “unliquidated” or
                                       25                             “disputed,” and (ii) the Holder of the Claim does not dispute the
                                                                      Schedules’ description of the amount or classification of the Claim;
                                       26
                                                             iv.      Claimants who already filed a Proof of Claim against Debtors with
                                       27                             the Clerk of the Bankruptcy Court for the District of Nevada (the
                                       28                             “Clerk”) in a form substantially similar to Official Form 10;
                                                                                                 4
                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189    Entered 09/24/19 09:48:47       Page 21 of 29




                                                             v.       Equity interests, which interests are based exclusively upon an
                                        1                             interest in the equity ownership of Debtor (any such interest being
                                        2                             referred to as an “Interest”); provided, however, that Holders of
                                                                      Interests who wish to assert a Claim against Debtors that arise out of
                                        3                             or relate to the ownership or purchase of an Interest, including Claims
                                                                      arising out of or relating to the sale, issuance or distribution of the
                                        4                             Interest, must file a Proof of Claim on or before the Bar Dates, unless
                                                                      another exception set forth herein applies; and
                                        5
                                        6                    vi.      Claims allowable under Bankruptcy Code sections 503(b) and
                                                                      507(a)(2) as administrative expenses of this Chapter 11 Case, with the
                                        7                             exception of Claims allowable under Bankruptcy Code section
                                                                      503(b)(9), which are subject to the Bar Dates.
                                        8
                                        9            CONSEQUENCES OF MISSING DEADLINES TO FILE PROOFS OF CLAIM

                                       10            Pursuant to Bankruptcy Rule 3003(c)(2), any Claimant whose claim is not scheduled or

                                       11   scheduled as disputed, contingent, or unliquidated must file a Proof of Claim in accordance with the
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                                       12   Bar Date Order on or before the Bar Dates or Supplemental Bar Date, as applicable, or such
    Las Vegas, Nevada 89135
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                                       13   Claimant shall be forever barred, estopped and enjoined from asserting such claim against Debtors

                                       14   (or filing a Proof of Claim with respect thereto), and Debtors’ property shall be forever discharged

                                       15   from any and all indebtedness or liability with respect to such Claim, and such Holder shall not be

                                       16   permitted to vote. Any claimant that fails to do so shall not be treated as a creditor with respect to

                                       17   such claim for the purposes of voting to accept or reject any plan of reorganization filed in these

                                       18   Chapter 11 Cases, or participating in any distribution in these Chapter 11 Cases on account of such
                                       19   claim.
                                       20            ACCORDINGLY, IF YOU FAIL TO FILE A PROOF OF CLAIM ON ACCOUNT
                                       21   OF ANY CLAIM YOU WISH TO ASSERT AGAINST DEBTORS OR ANY OF DEBTORS’
                                       22   PREDECESSORS-IN-INTEREST FOR WHICH DEBTORS ASSUMED LIABILITY BY
                                       23   OPERATION OF LAW THROUGH MERGER PRIOR TO JULY 26, 2019, PURSUANT TO
                                       24   THE INSTRUCTIONS IN THIS NOTICE SO THAT YOUR PROOF OF CLAIM IS

                                       25   RECEIVED ON OR BEFORE 5:00 P.M. PREVAILING PACIFIC TIME ON NOVEMBER

                                       26   27, 2019 (OR JANUARY 22, 2020 FOR GOVERNMENTAL ENTITIES) THEN:

                                       27
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn              Doc 189      Entered 09/24/19 09:48:47        Page 22 of 29




                                        1                  •    YOU WILL NOT BE TREATED AS A CREDITOR WITH
                                        2                       RESPECT TO THAT CLAIM;
                                        3                  •    YOU WILL NOT BE PERMITTED TO VOTE ON ANY PLAN OF
                                        4                       REORGANIZATION FOR DEBTORS ON ACCOUNT OF THAT
                                        5                       CLAIM; AND
                                        6                  •    YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE
                                        7                       CHAPTER 11 CASES ON ACCOUNT OF THAT CLAIM.
                                        8
                                        9     CLAIMS FROM REJECTION OF EXECUTORY CONTRACTS / UNEXPIRED LEASES
                                       10           Any holder of a claim arising from the rejection of an unexpired lease or executory contract

                                       11   of a Debtor (an “Agreement”) shall be required to file a Proof of Claim by the later of (a) the
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                                       12   applicable Bar Date, or (b) the date provided in any order authorizing such Debtor to reject the
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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          (702) 262-6899




                                       13   Agreement or, if no date is provided, then thirty (30) days after the date of any order authorizing

                                       14   Debtor to reject the Agreement (so long as such order authorizing rejection and establishing the

                                       15   claims bar date requires Debtors to mail notice of the order within one (1) day of the date the order

                                       16   is entered).

                                       17                                        EXAMINATION OF SCHEDULES

                                       18           The Court’s docket sheet and documents filed in these Chapter 11 Cases, including Debtors’
                                       19   Schedules          and   the   Bar   Date   Order,   are   accessible   at   the   Court’s   internet   site:
                                       20   http://www.nvb.uscourts.gov, through an account obtained from the PACER service center at 1-
                                       21   800-676-6856, or (210) 301-6440, or http://pacer.psc.uscourts.gov. Debtors’ Schedules and the Bar
                                       22   Date Order also may be examined and inspected by interested parties during regular business hours
                                       23   at either (a) the offices of Fox Rothschild, LLP, 1980 Festival Plaza Drive, Suite 700, Las Vegas,
                                       24   NV 89135; or (b) the Clerk of the Court, Foley Federal Building and U.S. Courthouse, 300 Las

                                       25   Vegas Boulevard South, Las Vegas, Nevada 89101, during posted hours. Creditors that wish to

                                       26   ///

                                       27   ///

                                       28
                                                                                                   6
                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47    Page 23 of 29




                                        1   rely on the Schedules will have the responsibility for determining that their Claims are listed
                                        2   accurately on them.
                                        3           DATED this ___ day of September, 2019.
                                        4                                                 FOX ROTHSCHILD LLP
                                        5
                                                                                          By    /s/Brett A. Axelrod
                                        6
                                                                                            BRETT A. AXELROD, ESQ.
                                        7                                                   Nevada Bar No. 5859
                                                                                            1980 Festival Plaza Drive, Suite 700
                                        8                                                   Las Vegas, Nevada 89135
                                                                                          [Proposed] Counsel for Debtors
                                        9
                                       10
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1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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          (702) 262-6899




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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47   Page 24 of 29




                                        1                                                EXHIBIT D
                                        2                                  PUBLICATION NOTICE OF BAR DATE
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                                       11
1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP



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          (702) 262-6899




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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47      Page 25 of 29




                                        1   BRETT A. AXELROD, ESQ.
                                            Nevada Bar No. 5859
                                        2   FOX ROTHSCHILD LLP
                                            1980 Festival Plaza Drive, Suite 700
                                        3   Las Vegas, Nevada 89135
                                        4   Telephone: (702) 262-6899
                                            Facsimile: (702) 597-5503
                                        5   Email: baxelrod@foxrothschild.com
                                            [Proposed] Counsel for Debtors
                                        6
                                        7                                 UNITED STATES BANKRUPTCY COURT
                                        8
                                                                                    DISTRICT OF NEVADA
                                        9
                                            In re                                                  Case No. BK-S-19-14796-mkn
                                       10
                                                 GYPSUM RESOURCES MATERIALS,                       Jointly Administered with
                                       11        LLC,                                              Case No. BK-S-19-14799-mkn
1980 Festival Plaza Drive, Suite 700




                                       12
    Las Vegas, Nevada 89135




                                                     Affects Gypsum Resources Materials, LLC       Chapter 11
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                                                     Affects Gypsum Resources, LLC
          (702) 262-6899




                                       13
                                                     Affects all Debtors
                                       14                                                          Hearing Date:
                                                                                                   Hearing Time:
                                       15
                                       16
                                       17
                                       18
                                       19                      NOTICE OF BAR DATE FOR FILING PROOFS OF CLAIM
                                       20                        AGAINST GYPSUM RESOURCES MATERIALS, LLC
                                                                      AND/OR GYPSUM RESOURCES, LLC,
                                       21                              ON OR BEFORE NOVEMBER 27, 2019

                                       22     TO: ALL ENTITIES WHO MAY HAVE CLAIMS AGAINST GYPSUM RESOURCES
                                                 MATERIALS, LLC OR GYPSUM RESOURCES, LLC, OR ANY OF THEIR
                                       23    PREDECESSORS-IN-INTEREST FOR WHICH GYPSUM RESOURCES MATERIALS,
                                       24   LLC AND/OR GYPSUM RESOURCES, LLC ASSUMED LIABILITY BY OPERATION OF
                                                     LAW THROUGH MERGER AS DESCRIBED IN THIS NOTICE.
                                       25
                                                    YOU MAY WISH TO CONSULT WITH COUNSEL OF YOUR CHOICE
                                       26           REGARDING ANY CLAIMS YOU MAY HAVE.
                                       27
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47     Page 26 of 29




                                                    PLEASE TAKE NOTICE THAT:
                                        1
                                                    On July 26, 2019, Gypsum Resources Materials, LLC (“GRM”) and Gypsum Resources,
                                        2
                                            LLC (“GR”, together with GRM, the “Debtors”), debtors and debtors in possession in the above-
                                        3
                                            captioned cases (the “Chapter 11 Cases”), filed their voluntary petitions for relief under chapter 11
                                        4
                                            of title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
                                        5
                                            Court for the District of Nevada (the “Court”). Prior to the Petition Date, the following former
                                        6
                                            affiliate of Gypsum Resources Materials, LLC (the “GRM Affiliate”) merged with GRM: High
                                        7
                                            Grade Gypsum, LLC. After the merger, GRM was the surviving entity and successor-in-interest,
                                        8
                                            assuming the operations, assets, and liabilities of the GRM Affiliate. Prior to the Petition Date, the
                                        9
                                            following former affiliates of Gypsum Resources, LLC (collectively, the “GR Affiliates”) merged
                                       10
                                            with GR: Gypsum Resources I, LLC and Blue Diamond Falls, LLC. After the merger, GR was the
                                       11
                                            surviving entity and successor-in-interest, assuming the operations, assets, and liabilities of the GR
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                                       12
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                                            Affiliates. Accordingly, you may have done business with the Debtors within the last ten years
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          (702) 262-6899




                                       13
                                            under any of the following names:
                                       14
                                                              DEBTOR                                           OTHER NAMES
                                       15
                                             Gypsum Resources Materials, LLC                            High Grade Gypsum, LLC
                                       16
                                       17    Gypsum Resources, LLC                                      Gypsum Resources I, LLC
                                                                                                        Blue Diamond Falls, LLC
                                       18
                                       19                        DEADLINE FOR FILING CLAIMS AGAINST DEBTORS

                                       20           On ___________________, 2019, the Court entered an order (the “Bar Date Order”) in

                                       21   these Chapter 11 Cases establishing November 27, 2019, at 5:00 p.m. (Prevailing Pacific Time)

                                       22   (the “Bar Date”), as the deadline for filing an original, written proof of any claim you may have

                                       23   against Debtors (the “Proof of Claim”). The Bar Date applies to all claims against Debtors that

                                       24   arose before July 26, 2019, except certain excluded claims and claims of governmental entities (as

                                       25   described in the Bar Date Order). The Bar Date Order also sets procedures to be used for filing

                                       26   Proofs of Claim, which are summarized in this notice for your convenience.

                                       27           You MUST file a Proof of Claim by the Bar Date if you have any claim against Debtors that

                                       28   arose before July 26, 2019. The only exception to this requirement is for certain excluded claims or
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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47     Page 27 of 29




                                        1   claims of governmental entities described in the Bar Date Order. Acts or omissions that occurred
                                        2   before July 26, 2019, may give rise to claims subject to the Bar Date even if the claims may not
                                        3   have become known or fixed or liquidated until after July 26, 2019. PRIOR TO JULY 26,
                                        4   2019, DEBTORS ALSO OPERATED UNDER THESE NAMES: HIGH GRADE GYPSUM,
                                        5   LLC, GYPSUM RESOURCES I, LLC AND BLUE DIAMOND FALLS, LLC. IF YOU
                                        6   HAVE HAD DEALINGS WITH DEBTORS OR ANY OF THESE ENTITIES, THEN YOU
                                        7   MAY HAVE A CLAIM. IF YOU HAVE A CLAIM, THEN YOU MUST TIMELY FILE A
                                        8   CLAIM OR, IF NOT TIMELY FILED, SUCH CLAIM WILL BE FOREVER BARRED.
                                        9           Under Bankruptcy Code section 101(5) and as used herein, the word “claim” means: (a) a
                                       10   right to payment, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed,
                                       11   contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured or unsecured; or (b)
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                                       12   a right to an equitable remedy for breach of performance if such breach gives rise to a right to
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                                       13   payment, whether or not such right to an equitable remedy is reduced to judgment, fixed,
                                       14   contingent, matured, unmatured, disputed, undisputed, secured or unsecured.
                                       15                           INSTRUCTIONS FOR FILING A PROOF OF CLAIM
                                       16           If you file a Proof of Claim, your filed Proof of Claim must (a) be written in English; (b)

                                       17   include a claim amount denominated in United States dollars; (c) state a claim against Debtors or

                                       18   any or all of the appropriate entities Debtors formerly did business as; and (d) be signed by the
                                       19   Claimant or, if the Claimant is not an individual, by an authorized agent of the Claimant.
                                       20                     YOU SHOULD INCLUDE ALL CLAIMS AGAINST DEBTORS
                                       21                                  IN A SINGLE PROOF OF CLAIM FORM.
                                       22           b.       Your Proof of Claim form must be filed so as to be received on or before 5:00 p.m.
                                       23   Prevailing Pacific Time on November 27, 2019. All Proofs of Claim must be filed with the
                                       24   Court and received on or before the Bar Date by Debtors’ Counsel. If Proofs of Claim are not

                                       25   received on or before the Bar Date by Fox Rothschild LLP, with certain exceptions described in the

                                       26   Bar Date Order, the Holders of the underlying Claims shall be barred from asserting such Claims

                                       27   against Debtors. All Proofs of Claim must be delivered to Fox Rothschild LLP by first-class mail,

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                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189   Entered 09/24/19 09:48:47        Page 28 of 29




                                        1   overnight delivery, hand delivery, facsimile or email at the following address:1
                                        2                                           Brett A. Axelrod, Esq.
                                                                                     Fox Rothschild LLP
                                        3                                     1980 Festival Plaza Drive, Suite 700
                                                                                    Las Vegas, NV 89135
                                        4                                         Facsimile: (702) 597-5503
                                        5                                        baxelrod@foxrothschild.com

                                        6           21.      A Proof of Claim will be deemed timely filed only if it is actually received by

                                        7   Debtors’ Counsel on or before the Bar Date. A Claimant who wishes to receive acknowledgment of

                                        8   Debtors’ Counsel’s receipt of its Proof of Claim may submit a copy of the Proof of Claim and a

                                        9   self-addressed, stamped envelope to Debtors’ Counsel along with the original Proof of Claim. A

                                       10   Claimant who wishes to receive acknowledgment of Debtors’ Counsel’s receipt of its Proof of

                                       11   Claim may submit a copy of the Proof of Claim and a self-addressed, stamped envelope to Debtors’
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                                       12   Counsel along with the original Proof of Claim. 2
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                                                       CONSEQUENCES OF MISSING THE DEADLINE FOR FILING CLAIMS
          (702) 262-6899




                                       13
                                       14           IF YOU FAIL TO FILE A PROOF OF CLAIM ON ACCOUNT OF ANY CLAIM

                                       15   YOU       WISH       TO       ASSERT    AGAINST      DEBTORS        OR     ANY     OF    DEBTORS’

                                       16   PREDECESSORS-IN-INTEREST FOR WHICH DEBTORS ASSUMED LIABILITY BY

                                       17   OPERATION OF LAW THROUGH MERGER PRIOR TO JULY 26, 2019, PURSUANT TO

                                       18   THE INSTRUCTIONS IN THIS NOTICE SO THAT YOUR PROOF OF CLAIM IS

                                       19   RECEIVED ON OR BEFORE 5:00 P.M. PREVAILING PACIFIC TIME ON NOVEMBER

                                       20   27, 2019, THEN:

                                       21                    YOU WILL NOT BE TREATED AS A CREDITOR WITH RESPECT TO

                                       22           THAT CLAIM;

                                       23                    YOU WILL NOT BE PERMITTED TO VOTE ON ANY PLAN OF

                                       24           REORGANIZATION FOR DEBTORS ON ACCOUNT OF THAT CLAIM; AND

                                       25
                                                1
                                                 Proofs of Claim timely filed with the Clerk of this Court will be deemed timely filed for
                                       26   purposes of the Bar Dates.
                                                2
                                       27         Proofs of Claim timely filed with the Clerk of the Court, located in the Foley Federal Building
                                            and U.S. Courthouse at 300 Las Vegas Boulevard South, Las Vegas, Nevada 89101, will be deemed
                                       28   timely filed for purposes of the Bar Date.
                                                                                              4
                                            Active\102401969.v2-9/23/19
                                            Case 19-14796-mkn             Doc 189      Entered 09/24/19 09:48:47        Page 29 of 29




                                        1    YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE CHAPTER 11 CASES ON
                                        2                                        ACCOUNT OF THAT CLAIM.
                                        3                                       EXAMINATION OF SCHEDULES
                                        4           The Court’s docket sheet and documents filed in these Chapter 11 Cases, including Debtors’
                                        5   Schedules      and    the     Bar   Date   Order,   are   accessible   at   the   Court’s   internet   site:
                                        6   http://www.nvb.uscourts.gov, through an account obtained from the PACER service center at 1-
                                        7   800-676-6856, or (210) 301-6440, or http://pacer.psc.uscourts.gov. Debtors’ Schedules and the Bar
                                        8   Date Order also may be examined and inspected by interested parties during regular business hours
                                        9   at either (a) the offices of Fox Rothschild, LLP, 1980 Festival Plaza Drive, Suite 700, Las Vegas,
                                       10   NV 89135; or (b) the Clerk of the Court, Foley Federal Building and U.S. Courthouse, 300 Las
                                       11   Vegas Boulevard South, Las Vegas, Nevada 89101, during posted hours. Creditors that wish to rely
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                                       12   on the Schedules will have the responsibility for determining that their Claims are listed accurately
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                                       13   on them.
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